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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

STEVEN SWARTWOOD; JOANNA
SWARTWOOD; R.S., a minor and D.S.,
a minor, by and through their Guardian Ad
Litem; Judy Swartwood,

Plaintiffs,
Vv.

COUNTY OF SAN DIEGO; SAN DIEGO
HEALTH AND HUMAN SERVICES
AGENCY; POLINSKY CHILDRENS
CENTER; MAYA BRYSON; WENDY
CURIEL; KELLY ROLLINS; SUSAN
SOLIS; AND DOES 1 TO 50, Inclusive,

Defendants.

No. 12cv1665-W(BGS)

JOINT MOTION TO ENTER FINAL
JUDGMENT AS TO MONELL CLAIM
ON COUNTY’S POLICIES ON
MEDICAL EXAMINATIONS OF
CHILDREN AND TO DISMISS
REMAINDER OF ACTION

Pretrial conference date: March 2, 2015
Trial Date: None Set

Plaintiffs STEVEN SWARTWOOD, JOANNA SWARTWOOD, and minors R.S.
and D.S., by and through their Guardian Ad Litem Judy Swartwood, by and through their
attorney of record, Paul W. Leehey; and Defendants COUNTY OF SAN DIEGO, MAYA
BRYSON, WENDY CURIEL, KELLY ROLLINS, and SUSAN SOLIS, by and through

their attorney of record, David L. Brodie (“Parties”) have reached a settlement in the

action, in which they jointly move that the Court enter Final Judgment in this matter as

detailed below and dismiss the remainder of the matter, pursuant to Federal Rules of

Civil Procedure Rule 41, as follows:

JOINT MOTION

12cv1665-W(BGS)

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(1) Sign and enter as the final Judgment of this Court the enclosed Judgment as to
Sections II. D. and IV. 3. of the Court’s ruling on the parties’ motions for summary
judgment entered September 30, 2014 (Order: (1) Granting in Part and Denying in Part
Defendants’ Motion for Partial Summary Judgment [Doc. 42]; (2) Granting in Part and
Denying in Part Plaintiffs’ Motion for Partial Summary Judgment Against the Individual
Defendants [Doc. 45]; and (3) Granting Plaintiffs’ Motion for Partial Summary Judgment
Against The County Defendants [Doc. 46]) (Doc 76);

(2) Dismiss all claims against Defendants Maya Bryson, Wendy Curiel, Kelly
Rollins, and Susan Solis with prejudice; and

(3) Dismiss claims of Assault, Battery, False Imprisonment, Intentional Infliction
of Emotional Distress, and violation of State Civil Rights (Civil Code §§ 43 and 52.1)

against Defendant County of San Diego with prejudice.
Dated: March 23, 2015 THOMAS E. MONTGOMERY, County Counsel

By._/s/ David L. Brodie
“DAVID L. BRODIE, Senior Deputy
Attorneys for Defendants

Dated: March 23, 2015 LAW OFFICES OF PAUL W. LEEHEY

By. _/s/ Paul W. Leehey
Paul W. Leehey, Esq.
Attorney for Plaintiffs

I, PAUL W. LEEHEY, hereby certify that the content of this joint motion is
acceptable to all parties required to sign this joint motion. All parties authorize Plaintiffs
Counsel to affix their CM/ECF electronic signature to this joint motion.

Dated: March 23, 2015 LAW OFFICES OF PAUL W. LEEHEY

By. /s/ Paul W. Leehey
Paul W. Leehey, Esq.
Attorney for Plaintiffs

JOINT MOTION 2 12cv1665-W(BGS)

